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                        Case No. 24-12925
__________________________________________________________________
             In the United States Court of Appeals
                    For the Eleventh Circuit
               ____________________________________

  KEITH EDWARDS, AS PERSONAL REPRESENTATIVE OF THE ESTATE OF
                 JERRY BLASINGAME, DECEASED,

                         Plaintiff-Appellant,

                                   v.

                   OFFICER J. GRUBBS, #6416, AND
               CITY OF ATLANTA/ATLANTA POLICE DEPT.
                        Defendants-Appellees.

    ON APPEAL FROM THE UNITED STATES DISTRICT COURT FOR THE
        NORTHERN DISTRICT OF GEORGIA – ATLANTA DIVISION

            No. 1:19-cv-2047 (Honorable Steve C. Jones)

__________________________________________________________________
             PLAINTIFF-APPELLANT’S BRIEF ON APPEAL
__________________________________________________________________

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             Keith Edwards v. J. Grubbs, et al., Record No. 24-12925

                 CERTIFICATE OF INTERESTED PERSONS

      Plaintiff-Appellant certifies that the following persons and entities have an

interest in the outcome of this action:

      -Atlanta Police Department

      -Blasingame, Jerry Estate of (Plaintiff-Appellant)

      -City of Atlanta

      -Dearing Jr., James E. (Counsel for Defendant-Appellee)

      -Desmond, Christopher P. (Counsel for Plaintiff-Appellant)

      -Eason, Kimberly Delk (Counsel for Defendant-Appellee)

      -Edwards, Keith (Plaintiff-Appellant)

      -Grubbs, Jon (Defendant-Appellee)

      -Hatchett, Ayanna D. (Counsel for Plaintiff-Appellant)

      -Hill, Alexander J. (Counsel for Defendant-Appellee)

      -Johnson, Vernon R. (Counsel for Plaintiff-Appellant)

      -Jones, Steve C. (District Court Judge)

      -Melton, Harold D. (Counsel for Defendant-Appellee)

      -Miller, J. Stacy (Counsel for Defendant-Appellee)

      -Peeler, Charles E. (Counsel for Defendant-Appellee)

      -Pierre, Hermise

      -Tobin, Darren M. (Counsel for Plaintiff-Appellant)


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      -Waldbeser, Elizabeth P. (Counsel for Defendant-Appellee)

      Pursuant to Federal Rule of Appellate Procedure 26.1, Appellant certifies that

no publicly traded company or corporation has an interest in the outcome of the case

or appeal.

                                             /s/ Christopher P. Desmond
                                             Counsel for Plaintiff-Appellant




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            STATEMENT IN SUPPORT OF ORAL ARGUMENT

      Plaintiff-Appellant Keith Edwards, as Personal Representative of the Estate

of Jerry Blasingame, deceased, respectfully requests oral argument. This appeal is

highly fact-intensive, as it arises out of a nearly two week long trial that culminated

in a $100 million dollar verdict in Plaintiff’s favor. Oral argument will assist the

Court with its understanding of the record and with its ultimate determination.




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                        JURISDICTIONAL STATEMENT

       District Court: The United States District Court for the Northern District of

Georgia had subject matter jurisdiction over this case pursuant to 28 U.S.C. § 1331,

as it involves a federal question. Specifically, Plaintiff alleged that defendants

violated Mr. Blasingame’s Fourth Amendment rights to be free from excessive force

and were therefore liable for his injuries pursuant to 42 USC § 1983.

       Court of Appeals: This United States Court of Appeals for the Eleventh

Circuit has jurisdiction over this matter pursuant to 28 USC § 1291, as the district

court’s entry of judgment in favor of defendant, followed by its order denying

Plaintiffs’ motion for relief from judgment, was a final order that disposed of all of

Plaintiff’s claims in front of the district court.

       Timeliness: Plaintiff timely filed his Notice of Appeal in the district court on

September 9, 2024 (ECF No. 276).




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                     ISSUES PRESENTED FOR REVIEW

  I.     Did the District Court err in granting Defendant City of Atlanta’s Motion
         for Judgement as a Matter of Law regarding municipal liability after a
         well-instructed jury found Atlanta to be liable for $60 million in damages
         that resulted from that municipality’s policies, practices, procedures and/or
         customs?

  II.    Did the District Court err in granting remittitur of the punitive damage
         award against Defendant Grubbs?

  III.   Did the District Court err in denying Plaintiff’s Motion for Relief from
         Judgment relative to his claim that the City of Atlanta was statutorily
         responsible for his medical bills, which arose at a time when he was in
         Atlanta’s custody?

  IV.    Did the District Court err in denying Plaintiff’s Motion for Attorney Fees?




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                          STATEMENT OF THE CASE

                                   A. Introduction

      This cause of action arises out of an unconstitutional use of force toward

Plaintiff Jerry Blasingame, an elderly homeless man suspected of panhandling in the

City of Atlanta. Defendant Jon Grubbs Tasered Jerry in the back, without warning,

while Jerry was standing on top of a hill. The fall down that hill left Jerry with a

crushed skull and a broken neck, rendered him a quadriparetic and ultimately caused

his death.

      As a result of the events described below, Plaintiff brought suit against Grubbs

and the City of Atlanta. Plaintiff alleged that the customs, policies and practices of

the City of Atlanta were the driving force behind Grubbs’s unconstitutional conduct.

Following a two-week trial, the jury agreed and returned with a verdict totaling $100

million- $60 million against Atlanta and $40 million against Grubbs (which Grubbs

has appealed in Case No. 24-12787). However, following trial, the District Court

entered judgment in favor of the City of Atlanta, voiding that portion of the jury’s

verdict.     Then, the Court reduced the punitive damage award entered against

Defendant Grubbs. The evidence presented at trial fully supported the jury’s verdict.

The District Court erred in concluding otherwise and must be reversed.




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                           B. The Underlying Use of Force

      On the afternoon of July 10, 2018, Defendant Jon Grubbs and Keith Shelley

were on patrol in the course of their employment with the Atlanta Police Department.

Shelley was driving the cruiser and Grubbs was the passenger. The two were in the

area of Atlanta where I-20, I-75 and I-85 converge. Traffic was generally heavy, or

stop and go. As Officer Shelley testified, the two were not responding to any calls

at the time. Instead, while in the process of parking their cruiser in a gore area of

the highway, they observed Mr. Blasingame. (Tr, pp 827-828.) The area in question

is known to have a large homeless population (Tr, p 912). Grubbs and Shelley

testified to regularly seeing the homeless and panhandlers in the general area (Tr, pp

828-829, 912).    The record established that at the time of these events, Mr.

Blasingame was a homeless man who was 65 years old.

      Mr. Blasingame was standing on the shoulder adjacent to the left-hand lane

of the highway (Tr, p 888-889). Grubbs testified that he never saw Mr. Blasingame

on the roadway, never saw him approach any vehicle, interfere with traffic in any

way or receive any money from any motorist (Tr, p 1046) Nonetheless, Grubbs

testified that he did not know if Mr. Blasingame was panhandling and decided to

approach him to question him (Tr, p 1048). He was not planning on arresting Mr.

Blasingame (Tr, p 1049).

      When Grubbs exited the police cruiser, he had to walk across lanes of traffic


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in order to get to where Mr. Blasingame was standing (Tr, p 1048). As Grubbs

walked toward Mr. Blasingame, he claims Mr. Blasingame began to run west (Tr, p

1048). As Mr. Blasingame was running, he never entered the roadway (Tr, p 1050).

Instead, he was running along the shoulder of the road. On one side of Mr.

Blasingame was the yellow line at the edge of the highway; on the other side was a

metal guardrail.

      As he was running, Mr. Blasingame approached the metal guardrail. In

contrast to Mr. Blasingame, Grubbs was 29 years old at the time, was a trained

officer, a former high school track star who specialized in sprinting and he continues

to regularly work out (Tr, p 904). Though Grubbs testified that Mr. Blasingame was

able to make it over that guardrail “very quickly,” by the time that happened Grubbs

had closed to within one foot of Mr. Blasingame. He stated that he was close enough

that he could have touched him had he reached out. (Tr, pp 1053-1055, 1058.)

      According to Grubbs, as Mr. Blasingame made it over the guardrail he swiped

his arm back toward Grubbs, never making contact (Tr, p 1056). Grubbs testified

that during the entire course of the events described here, Mr. Blasingame was not

armed, did not act aggressively or threateningly and never said a word (Tr, pp 1065,

1069-1070) He stated that he was not in fear of Mr. Blasingame. Nonetheless, as

Mr. Blasingame made it over the guardrail, Grubbs drew his Taser (Tr, p 1062). By

this point in the events, Officer Shelley had lost sight of the two men and did not see


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what occurred (Tr, p 849).

      When Mr. Blasingame crossed the guardrail, he entered a path that was in an

area overgrown with shrubs, trees and other vegetation (Tr, p 1056). Importantly,

there was a decline on the path that led downhill (Tr, p 536). Grubbs’s testimony at

trial left no doubt that he understood the nature of the terrain that Mr. Blasingame

was now on:

      Q. You knew as you deployed, of course, that you were on an
      elevated surface; correct?

      A. Yes.

      Q. You knew he was running away from you; correct?

      A. Yes.

      Q. So and running downhill; right?

      A. Yes. (Tr, p 1074)

      According to Grubbs, without crossing over the guardrail, he deployed his

taser and the probes successfully entered Mr. Blasingame’s back (Tr, pp 1071-1072).

In contrast, Plaintiff introduced testimony from a police procedures expert who each

testified that Grubbs did cross over that guardrail and proceed down a portion of the

path before he fired his taser (Tr, pp 520-521). While Grubbs made it clear that Mr.

Blasingame never posed a threat to him, he testified that he feared that Mr.

Blasingame would run into traffic on an adjacent road if he continued to run. It was

that alleged fear that served as the sole basis for the decision to deploy his Taser.
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Yet, Grubbs acknowledged at trial that he never saw Jerry enter any roadway that

day. Further, he acknowledged that there was no evidence Mr. Blasingame ever

would have done so:

     Q. Officer Grubbs, in this case, you have no evidence that Jerry Blasingame
     would have run into the roadway, do you? Yes or no?

     A. No. (Tr, p 1071)

      When the 50,000 volts of electricity entered Mr. Blasingame, he lost control

of his muscles and fell forward. Because he was on elevated ground, he fell down

the hill, which had a concrete platform supporting a traffic control box at the bottom

(Tr, p 538-539). He struck his head on that concrete platform, suffering fractures

throughout his face and skull. The left side of his skull was crushed and pushed in

toward his brain, causing a traumatic brain injury. (Tr, pp 1274-1277). The force

also caused his neck to break in the area of his C3-C5 vertebrae (Tr, p 1280). Mr.

Blasingame was rendered a quadriparetic who, apart from certain minimal

movements and spasms, was entirely paralyzed below the neck until the time of his

death years later (Tr, p 1344).

      The evidence at trial proved that Grubbs violated numerous policies and

aspects of his training relative to the deployment of his Taser. Grubbs admitted at

trial that he was trained to yell “Taser! Taser! Taser!” at a subject before firing his

Taser. That warning is designed to provide a subject with an opportunity to comply

or surrender before the Taser is used. Grubbs gave no such warning here. (Tr, p
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1067.) Grubbs was trained to not use his Taser on the elderly or frail absent exigent

circumstances. He was trained not to use his Taser on subjects who were running or

who were on elevated ground. (Tr, pp 361, 365, 873-874.)

      Michael Banja is a senior officer with the Atlanta Police Department and a

certified Taser trainer since 2012 (Tr, p 308). Banja explained that when a Taser is

deployed, it delivers a charge of electricity for five seconds (Tr, p 335). That charge

causes neuromuscular incapacitation that causes an uncontrolled fall where the

subject does not have an ability to brace or protect themselves. Consequently, a

Taser can still be considered a deadly weapon (Tr, p 621). Banja testified that the

Department’s Standard Operating Procedures provide that officers “shall not” use

their Tasers on subjects that are actively running from officers, nor on the elderly or

physically frail (Tr, p 384).

      Atlanta’s    Standard       Operating       Procedures   similarly   provide   that

“Environmental factors which could lead to serious injury or death shall be taken

into considerations” when deploying a Taser. (Tr, p 380) Officers are trained to

consider the landing zone of subjects before using a Taser:


      Q. So in other words, you teach your officers like Officer Grubbs that
      folks can be seriously injured, or even die, depending on how they fall
      and, more importantly, how they land?

      A. Yes.



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      Q. I take it you teach them to be cognizant of, again, where someone is
      going to fall?

      A. When practical, we teach to be cognizant of where someone is going
      to fall. (Tr, p 370)

Grubbs admitted that he was trained to predict landing zones and anticipate where

someone may fall before using his Taser, and that you do not want a subject falling

in a landing zone you cannot see (Tr, p 927-928). Yet, he testified that he knew Mr.

Blasingame was running downhill, he could not see what was at the bottom of that

decline and was thus unaware of the metal box on which Mr. Blasingame landed (Tr,

p 1089).

      Plaintiff’s two police procedures experts, Dr. Andrew Scott and Thomas

Tiderington, also each testified regarding the use of force. As Mr. Tiderington

opined, Grubbs did not have probable cause to arrest Mr. Blasingame (Tr, p 1125).

Thus, when Mr. Blasingame began to run, Grubbs did not have justification to utilize

his Taser as Mr. Blasingame was within his right to leave (Tr, pp 1126-1127). Dr.

Scott agreed (Tr, p 459). Each expert explained that Grubbs violated numerous

policies when tasing Mr. Blasingame while he was elderly, running, on elevated

ground and where Grubbs did not have knowledge of the landing zone (Tr, pp 516-

517, 1147-1148). They left no doubt that the force used in this case amounted to

deadly force that was constitutionally prohibited (Tr, pp 622, 1147-1148).




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      The injuries to Mr. Blasingame were catastrophic. He was taken to Grady

Hospital in Atlanta. While at Grady, he was considered to be in detention and in the

custody of the City of Atlanta. Grubbs testified that Mr. Blasingame was in custody

the moment that the taser prongs entered his back (Tr, p 1079-1080). Atlanta further

demonstrated that Mr. Blasingame was in custody by serving him with two different

citations while he was in Grady Hospital, which stated that Mr. Blasingame was

currently located in “Grady Detention.” (Tr, p 558).

      Mr. Blasingame subsequently resided in a residential facility known as

Safehaven in Georgia (Tr, p 1294). He suffered from quadriparesis and had very

little movement below his neck. He had a tracheotomy tube in his neck to enable

him to breathe (Tr, p 1205), a feeding tube inserted through his abdomen to enable

him to eat (Tr, p 1207), a catheter that passed through his abdomen into his bladder

(Tr, p 1209), and he was required to wear diapers (Tr, p 1211). Testimony

overwhelmingly established that he continued to feel pain each and every day and

that his conditions were very unlikely to improve in any meaningful way (Tr, pp

1233-1234). Unrebutted testimony established that Mr. Blasingame had incurred

roughly $4.2 million in medical expenses thus far with a projection of an additional

$16,861,652 in future medical expenses (Tr, pp 1425, 1433).




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       C. The Significance of the Body Worn Camera Policy Violations

      Just as Grubbs did not comply with his training relative to the use of his Taser,

he also violated policy and training relative to his body worn camera. The camera

Grubbs wore had a toggle switch that controlled whether the camera was powered

on. When toggled off, it was not functional. When toggled to the on position, it

would operate in “ buffering mode.” While in buffering mode, the camera records

constantly. However, it records over the previously recorded footage every two

minutes. (Tr, pp 172-176.)

      The camera also features what is known as an event button, which is a separate

button that gets pressed instead of toggled. When a camera is on and in buffering

mode, pressing the event button twice activates recording mode. Then, the footage

records until the event button is pressed again and does not record over the footage

that had been recorded in buffer mode. By pressing the event button twice, the two

minutes of footage that had been recorded in buffer mode is maintained and forms

the beginning of the available video footage. Lastly, and of much importance, if an

officer’s camera is in buffering mode and then the camera is toggled off, the footage

that had been recorded in buffer mode is deleted. (Tr, pp 175-179.) Numerous

employees of the Atlanta Police Department testified that Grubbs was trained that

toggling his camera to the off position would delete the footage that was stored in




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buffering mode. Grubbs and Shelley each testified that they never received any such

training. (Tr, pp 822, 915.)

      Atlanta police officers are required to keep their cameras toggled on and in

buffering mode at all times. When an officer begins to interact with a member of

the public or anticipates an interaction, they must the event button twice to begin

recording. When that event ends, they may hit the event button again and return to

buffer mode. It appears that there are no scenarios in which officers may turn their

cameras off. (Tr, pp 187, 189.)

      Initially, Officer Grubbs claimed that he went to the bathroom at the beginning

of his shift and that he toggled his camera off at that time. He claimed that he did

not remember to turn his camera back on and that it therefore was off at the time of

the encounter with Mr. Blasingame. The record conclusively shows otherwise.

      Plaintiff introduced into evidence an audit trail of Grubbs’s body cam, which

documented how Grubbs used his camera that day. Julio Reyes, Jr. has worked in

the Atlanta Police Department for over 24 years and trains the department’s officers

on how to use their cameras (Tr, pp 146-147). He was designated as the person most

knowledgeable regarding the body worn camera program (Tr, 156). Examining that

audit trail, he testified that Grubbs turned his camera off toward the beginning of his

shift. (Tr, pp 238, 244-245). However, contrary to what Grubbs claimed, he turned

his camera back on at 12:40 p.m. (Tr, p 248.) Grubbs’s camera was on and in


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buffering mode when he saw Mr. Blasingame. However, at 2:36 p.m., Grubbs

toggled his camera off. (Tr, p 252.) It was not turned back on until after Mr.

Blasingame was face down at the base of the hill with a broken neck and a crushed

skull. Reyes agreed that it was not a close call that Grubbs violated Atlanta’s policies

and his training when he toggled his camera off (Tr, p 181). When asked whether a

violation of the body camera policies was a minor matter, he stated:

             No. All of the policies are -- are important. They’re there for a
      purpose, and they have to be followed accordingly. My approach as a
      trainer is, there is no one policy that is more important than another.
      They’re all important. And they’re all of our responsibility to make sure
      that we’re knowledgeable of them and follow them. And that’s what
      we’re responsible [sic] for when we sign off on the policies. [Tr, p 160].

      Plaintiff’s police procedures expert, Dr. Andrew Scott, testified that the

encounter with Mr. Blasingame began at roughly 2:36 p.m. He explained that the

entirety of the encounter, from when Grubbs began to approach Mr. Blasingame

until the time he used his Taser on him, took less than two minutes. Grubbs has his

camera on and in buffer mode at the beginning of the encounter. After Grubbs used

his Taser on Mr. Blasingame, he toggled his camera off, which destroyed the footage

of the encounter that was stored. (Tr, pp 468-471.) Had Grubbs hit the event button

instead, as policy required, that footage would have been maintained.

      Multiple witnesses in this case (including Grubbs (TR, p 1076) and Reyes (Tr,

p 164)) agreed that the evidence captured by the camera would have been the best

evidence in this case, had it not been destroyed. When asked if that evidence would
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have been the best evidence of what occurred, Dr. Scott responded “Without a doubt.

That’s why Atlanta Police Department and so many other agencies in the United

States are using body-worn cameras, because they reflect an unbiased opinion, so to

speak, of what transpired.” (Tr, p 471)

      When considering the circumstances of this case- where Grubbs used his

Taser on an elderly homeless man’s back without warning while that man was at the

top of a hill and running- it calls to question whether Grubbs intentionally covered

up his misconduct. Reyes testified that it was possible that Grubbs intentionally

turned off the camera to delete evidence (Tr, p 181). Had he been in charge of this

investigation, he would have looked into Grubbs’s past use of his body camera to

determine whether he had a pattern of turning his camera off, but he was not asked

to do that by Atlanta (Tr, p 164). He agreed that if Grubbs intentionally destroyed

this evidence, it was potentially a criminal act and that if Atlanta truly wanted to

ascertain the truth of Grubbs’s account, that evidence should have been looked into.

(Tr, pp 183-184.)

      Plaintiff’s police procedures experts both agreed with Reyes regarding the

significance of Grubbs’s destruction of evidence (Defendants offered no expert

testimony in this case, leaving this evidence unrebutted). Dr. Scott testified that “the

camera should have never been turned off. That -- it leads me to believe that Officer

Grubbs intentionally turned the camera off and subsequently erased the buffering,


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which would have captured the initial contact with Mr. Blasingame and the

subsequent foot pursuit and tasing.” (Tr, p 581) Thomas Tiderington testified that

      My conclusion was that the camera was intentionally turned off to erase
      the event that occurred on this particular day, and then it was turned
      back on. And, in fact, it happened twice. It happened during the initial
      encounter with Mr. Blasingame, and then it happened a second time
      right after Mr. Grubbs asked to use his partner, Officer Shelley’s cell
      phone to make a phone call to his supervisor, he turned the camera off
      a second time, in my opinion, intentionally turned the camera off a
      second time. [Tr, p 1118]

      Dr. Scott and Mr. Tiderington each explained the importance of complying

with body camera policies. The City of Atlanta performed a department wide audit

on body cam usage from November 2017 until May 2018. It issued a report on that

audit in December 2018. (Tr, p 266.) That Report addressed officers’ compliance

with body cam policies up until two months prior to the events of this case (Tr, pp

267-268). When asked about the audit results, Reyes testified as follows:

             A. I can’t recall an actual percentage number, but I do recall that
      the audit findings, their data reported that usage as far as how
      activation, when the officers are supposed to start their recordings was
      lower than acceptable.

                                         ***

            Q. Thank you. In that first paragraph, officers assigned body-
      worn cameras captured video for 33 percent of officer dispatch calls
      occurring from November 27 -- excuse me, November 2017 through
      May 2018. Did I read that right?

            A. Yes, sir.



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              Q. Police department staff told us they would expect 80 percent
      of all incidents to have corresponding video. Did I read that right?

             A. Yes, sir.

             Q. So 33 percent, folks were using it; is that right?

             A. Yes, sir.

             Q. Which means 67 percent of folks, officers, did not?

             A. Yes, sir. (Tr, pp 269-270)

Reyes agreed that 2/3 of officers not following department policy shows a pattern

(Tr, p 276). He agreed there is a practice of not following department policy

regarding body cameras (Tr, p 276). He agreed there was a custom of officers not

using the event button properly and said he was not aware of them being disciplined

(Tr, pp 290-291).

      Plaintiffs’ experts made the significance of the customary body camera policy

violations clear. Dr. Scott stated that “I believe that there may be a culture within

the organization that intentionally overlooks or dismisses some of the most obvious

and blatant policy violations, and as a result, ignore it.” (Tr, p 584). When asked if

that failure to investigate was an innocent oversight, Dr. Scott said that it couldn’t

be and that “I think there is a pattern and practice within the agency that allows this

to occur.” (Tr, p 585). Then, the following exchange occurred:

      Q. Do you have an opinion as to whether that indifference of a pattern
      and practice directly led to this very event?


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      A. Yes.

      Q. What is your opinion on that?

      A. Yes. That indifference led to this type of behavior, and further leads
      to additional types of behavior similarly, because no one’s held
      accountable and management is not doing what they need to do to hold
      people accountable.

      Q. How can, in your estimation, this indifference, in pattern and
      practice, have led to this event, sir?

      A. Well, a pattern and practice or indifference is generated over a
      myriad of years. It becomes part of the agency culture not to hold its
      members accountable and not fully investigating cases of this nature.
      And then what happens with that is, it compromises the trustworthiness
      of the police department to the public. And it occurs over many, many
      years, and it becomes just a custom. [Tr, p 586]

When asked how a failure to enforce body worn camera policies relates to use of

force, Dr. Scott testified

      So if you’re not holding your officers accountable, particularly on the
      most highest duty that an officer is allowed to perform, meaning use of
      force, then the officers, not only just the officer that is in question, but
      the officers throughout the rank and file, recognize that there is no
      consequence to their actions. So if there is no consequences and they’re
      not being held accountable, that means then officers can go off the rail
      and do what they think they should do when it’s not comporting or
      complying with the agency’s policy. It’s a very bad formula for disaster
      to the general public of not adequately keeping your officers
      accountable for their actions. (Tr, pp 587-588)

      Mr. Tiderington, who has 44 years of law enforcement experience, including

20 years as a chief of police, opined that there was a direct connection between

enforcement of body worn camera policies and use of force.


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      A. There is an absolute connection between the body-worn cameras and
      the use of force by police officers, in my opinion.

      Q. How?

      A. It’s my experience -- well, first of all, we have to kind of explain
      what the purpose is of the body-worn cameras, and the purpose of the
      body-worn cameras is to -- one of the main purposes is to exonerate our
      police officers who are being accused of misconduct. So oftentimes
      commanders, police chiefs, we want to view the video to prove that our
      officer acted properly. And to exonerate any type of false allegation
      made against our officers. It’s my experience that many, many good
      officers want every second of the event captured on video so they can
      prove what they did was -- was proper. So they go out of their way to
      make sure that the camera is actually videotaping properly, videotaping
      the events that are occurring there.

      Q. Okay. And how is that then connected, the camera itself and use of
      force, Mr. Tiderington?

      A. As far as how it is connected to the use of force, it’s been my
      experience that the -- once we deploy body-worn cameras at least in my
      departments and other departments that I’m familiar with, it has
      reduced the number of citizen complaints made against our officers,
      and it also has reduced the incidents of use of force that departments
      experience prior to deploying the cameras. [Tr, pp 1118-1119.]

Then, similarly,

      Q. Does the use of on-body cameras, if utilized appropriately, can it
      prevent, if you will, excessive force?

      A. I believe they do prevent excessive force. (Tr, p 1120)

Mr. Tiderington explained that it was

      very disappointing to see the non-compliance on behalf of a large
      number of officers within the police department that failed to utilize the
      cameras appropriately. I think the number was somewhere, somewhere
      -- to me it was shocking of all of the events captured, only -- of all of
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      the events that occurred, only 60 -- I’m sorry, 30 to 40 percent of the
      incidents were captured on video, which means 70 percent of the time
      the officers were not properly, according to policy, utilizing the tools
      that were provided to them by the City of Atlanta at a great expense to
      the City of Atlanta. (Tr, p 1122)

                               D. Procedural History

      The trial in this matter began on August 17, 2022, and concluded on August

26, 2022. At the close of trial, the jury returned with a verdict totaling $100 million

in Plaintiff’s favor- $60 million as to Atlanta and $40 million to Grubbs (ECF No.

163). Both Defendants brought motions for judgment as a matter of law (ECF No.

155), which Plaintiff opposed (ECF Nos. 168 and 169).

      On September 14, 2022, the District Court issued its order denying the motion

for JMOL by Grubbs, but granting the motion on behalf of Atlanta. The Court

directed the clerk to enter judgment in favor of Atlanta and judgment against Grubbs

for the amount reflected in the jury verdict. (ECF No. 177). The Court held that the

evidence presented at trial did not satisfy the applicable requirements for a claim of

municipal liability.

      On October 6, 2022, Plaintiff brought a Motion for Attorney Fees as the

prevailing party (ECF No. 186). Further, Plaintiff filed his motion for relief from

order on October 12, 2022, in which Plaintiff asserted that the jury’s verdict relative

to municipal liability was consistent with the law and the evidence presented at trial

(ECF No. 187). On October 20, 2022, Plaintiff filed his motion for relief from order


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in which he asserted that he was statutorily entitled to payment of certain medical

bills by Atlanta. (ECF No. 191). Those motions were denied (ECF No. 219).

Thereafter, on April 27, 2023, Plaintiff timely filed his notice of appeal (ECF No.

226).

        While on appeal, this Court dismissed the appeals of all parties for lack of

jurisdiction, finding that there had not yet been a final order entered by this Court.

The Court concluded that the stipulated dismissal of Count II of the First Amended

Complaint prior to trial (which was a count under state law. See ECF No. 147) was

ineffective. Specifically, the Court stated that it “do[es] not have jurisdiction over

this appeal” because Rule 41 ‘provides only for the dismissal of an entire action,’

not a single claim.” See ECF No. 251 at 4 (citing Rosell v. VMSB, LLC, 67 F.4th

1141, 1143 (11th Cir. 2023). In Rosell, the Eleventh Circuit explained that while

Fed. R. Civ. P. 41 could not be used to dismiss anything less than an entire action,

there were other available mechanisms by which individual counts could be

dismissed. The Court stated that “[l]itigants who wish to dismiss, settle, or otherwise

resolve less than an entire action can ensure that they receive a final judgment on the

remainder of their claims—which means that we have appellate jurisdiction—by

seeking partial final judgment under Rule 54(b) from the district court, or by

amending their complaints under Rule 15.” Rosell, 67 F.4th at 1144.

        Following remand, Plaintiff filed his unopposed motion to amend his


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complaint, consistent with Rosell (ECF No. 256). The court granted that motion and

stated that “The Court previously filed a judgment on September 22, 2022. Doc. No.

[179]. This judgment and all orders entered following that judgment shall remain in

full force and effect unless and until otherwise ordered by the Court.” (ECF No.

260). Nonetheless, in that same order, the Court invited Defendant to file new post

judgment motions- the same motions that the Court had previously denied when

Defendant Grubbs filed them untimely.

      With the Court reopening the window to file post-trial motions and thus saving

Grubbs (and counsel) from their prior untimely filing, Grubbs once again sought

remittitur (ECF No. 263). This time, the Court considered the motion to be timely

(despite being filed approximately 20 months from the entry of the September 22,

2022 judgment that remained in effect). The court granted Grubbs’s motion for

remittitur, holding that the jury’s award of $20 million in punitive damages was

unconstitutional and reducing that award to $1 million (ECF No. 270). Plaintiff now

appeals as of right.

      At the time of this writing, the City of Atlanta is asserting that it will not

indemnify Officer Grubbs, despite not disciplining him for this use of force and

despite the fact that he is still employed by the Department. Plaintiff asserted at trial

that the City should be obligated to indemnify Grubbs where the same attorneys

defended both Grubbs and the City at trial, which the District Court opined was a


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conflict of interest because those attorneys were taking positions for the City that

were contrary to Grubbs’s interest (Tr, p 1020). In other words, with the judgment

against the City vacated, Mr. Blasingame faces a future where he will potentially

recover nothing despite the jury awarding him $100 million dollars and despite the

fact that he incurred millions of dollars in medical bills, immense suffering and

death.

                              STANDARD OF REVIEW

         As this Court has previously stated, “[w]e review de novo the district court’s

rulings on motions under Rule 50 of the Federal Rules of Civil Procedure, examining

the trial evidence in the light most favorable to the non-moving party.” Doe v

Celebrity Cruises, Inc, 394 F3d 891, 902 (CA 11, 2004).

                            SUMMARY OF ARGUMENT

         The District Court erred in granting the City of Atlanta’s Motion for Judgment

as a Matter of Law. During trial, Defendant’s own employees admitted that there

was a policy, practice or custom in the department of officers not properly recording

events on their body cameras. The City’s own audit of its officers showed that in

2/3 of encounters with the public, officers were not recording their interactions.

Defendant’s own employees then testified that they were unaware of any employees

being disciplined for those violations.

         Plaintiff introduced the testimony of two highly qualified police procedures


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experts who have each served as chiefs of police and each been responsible for

internal affairs departments. Both of those experts testified that there was a de facto

policy of not enforcing body camera policies in Atlanta and that there was a direct

connection between that de facto policy and uses of force. When officers know that

they can get away with not recording interactions with the public, or even deleting

those interactions after they occur, they are aware that they can eliminate evidence

of uses of force without ramification. That is precisely what occurred here, and the

precedent of the United States Supreme Court and the Eleventh Circuit each provide

for liability under these circumstances.

      The Court further erred in granting Grubbs’s untimely motion for remitter.

Having denied that motion once for being untimely, the Court inexplicably reopened

the window for Grubbs to file a new motion for remittitur. Then, contrary to the

controlling law on the subject, held the jury’s punitive damage award to be

unconstitutional.

      The District Court also erred in holding that Atlanta was not responsible for

Plaintiffs medical bills pursuant to O.C.G.A. § 42-5-2. Pursuant to that authority,

Defendant is obligated to pay for the medical care of individuals who are in

Defendant’s custody.      At the moment Grubbs tased Mr. Blasingame, Mr.

Blasingame was in custody. He remained in custody when he was taken to Grandy

Hospital, which is utilized for those in detention or custody.


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        Finally, the District Court erred in denying Plaintiff’s motion for attorney fees.

The District Court did not deny that motion for substantive reasons, as it determined

that Plaintiff was the prevailing party. However, the Court stated that it was

deferring its final ruling on attorney fees until after the appeals in this matter were

complete and noting that Plaintiff would have a right to renew that motion at a later

time. Because that order was not entered separately from the order from which

Plaintiff now appeals, Plaintiff maintains his entitlement to the claimed fees in order

to properly preserve that claim.

                                     ARGUMENT

   I.      The District Court erred in granting Defendant’s Motion for
           Judgment as a Matter of Law relating to municipal liability

        The question before this Court relates to the propriety of municipal liability

pursuant to 42 U.S.C. 1983. In Monell, the United States Supreme Court determined

that, contrary to its prior decision in Monroe v. Pape, 365 U.S. 167 (1961), local

governments are properly classified as “persons” under 42 U.S.C. 1983 and thus are

amenable to suit under that legislation. In explaining when such suits are proper, the

Court stated as follows.

        Addressing why a municipality could be held liable for its customs and not

just its officially adopted policies, the Court quoted Justice Harlan’s words in

Adickes v. S. H. Kress & Co., 398 U.S. 144, 167-168 (1970): “Congress included

customs and usages [in § 1983] because of the persistent and widespread
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discriminatory practices of state officials . . . . Although not authorized by written

law, such practices of state officials could well be so permanent and well settled as

to constitute a ‘custom or usage’ with the force of law.”

      Eleven years after Monell was decided, the Supreme Court had further

opportunity to explain the contours of municipal liability. In City of Canton v.

Harris, 489 U.S. 378, 380 (1989), the Supreme Court described the issue it faced

thusly: “In this case, we are asked to determine if a municipality can ever be liable

under 42 U. S. C. § 1983 for constitutional violations resulting from its failure to

train municipal employees. We hold that, under certain circumstances, such liability

is permitted by the statute.” As will be shown below, the present case falls squarely

within the holding in City of Canton

      In City of Canton, the Plaintiff was arrested and brought to the Canton Police

Department via a patrol wagon. When officers arrived at the station, they discovered

that the Plaintiff was sitting on the floor of the wagon and was seemingly incoherent.

After taking her into the station, she “slumped to the floor on two occasions.”

Officers never sought medical attention for the Plaintiff, who was released from

custody after approximately one hour. Thereafter, her family had her transported to

the hospital where she was diagnosed with emotional conditions that resulted in a

week’s hospitalization and a year of outpatient treatment. Id. at 381.

      The Plaintiff brought suit and alleged that the municipality was liable for the


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failure to provide her with necessary medical care, asserting that the municipality

had a policy by which the shift commanders in the station had exclusive authority to

decide whether a prisoner required medical care and that because those shift

commanders did not have inadequate training, unconstitutional deprivation of

medical care necessarily resulted. Id. at 382.

      In affirming that the municipal defendant could be held liable, the Supreme

Court explained several crucial points. First, in recognizing the viability of a “failure

to train” theory, the Court stated that “[f]or reasons explained below, we conclude,

as have all the Courts of Appeals that have addressed this issue, there are limited

circumstances in which an allegation of a ‘failure to train’ can be the basis for

liability under § 1983. Thus, we reject petitioner’s [the City of Canton] contention

that only unconstitutional policies are actionable under the statute.” Id. at 387.

Consequently, Plaintiff need not show that the City of Atlanta had any policy that

was, itself, unconstitutional. Plaintiff only needed to show that a policy or custom

was the driving force of the unconstitutional act committed by Grubbs.

      Next, the Court explained that where a Plaintiff proceeds on a theory of failure

to train, he must demonstrate that the failure to train was motivated by deliberate or

conscious indifference of the municipal defendant. The Court stated that “[o]nly

where a failure to train reflects a ‘deliberate’ or ‘conscious’ choice by a municipality

-- a ‘policy’ as defined by our prior cases -- can a city be liable for such a failure


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under § 1983.” Id. at 389. “To establish a city’s deliberate indifference, ‘a plaintiff

must present some evidence [such as the audit evidence and testimony in this case]

that the municipality knew of a need to train and/or supervise in a particular area and

the municipality made a deliberate choice not to take any action.’” Lewis v City of

West Palm Beach, 561 F.3d 1288, 1293 (quoting Gold, 151 F.3d at 1351-52).

      After explaining a municipality can be held liable for its deliberate failure to

train employees, the Court turned to the type of causal connection that had to be

shown for liability to attach. The Court noted “[t]hat a particular officer may be

unsatisfactorily trained will not alone suffice to fasten liability on the city, for the

officer’s shortcomings may have resulted from factors other than a faulty training

program.” Id. at 391. Thus, “for liability to attach in this circumstance the identified

deficiency in a city’s training program must be closely related to the ultimate injury.”

Id. at 391. The Supreme Court also made it clear that the causal determination is

generally a question of fact:

              Would the injury have been avoided had the employee been
      trained under a program that was not deficient in the identified respect?
      Predicting how a hypothetically well-trained officer would have acted
      under the circumstances may not be an easy task for the factfinder,
      particularly since matters of judgment may be involved, and since
      officers who are well trained are not free from error and perhaps might
      react very much like the untrained officer in similar circumstances. But
      judge and jury, doing their respective jobs, will be adequate to the task.
      [Id. at 391.]

      City of Canton demonstrates that if a jury finds that a municipality’s 1.) failure


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to train is 2.) the product of deliberate indifference and 3.) is closely related to the

ultimate injury caused by a constitutional violation, municipal liability under 42

U.S.C. 1983 is appropriate.

      The 11th Circuit has acknowledged that “[t]he Supreme Court has instructed

that these ‘limited circumstances’ occur only where the municipality inadequately

trains or supervises its employees, this failure to train or supervise is a city policy,

and that city policy causes the employees to violate a citizen’s constitutional rights.”

Gold v City of Miami, 151 F3d 1346, 1350 (11th Cir., 1998).

      In holding that Defendants were entitled to JMOL, the Court stated that “while

Plaintiff’s experts gave broad, conclusory opinions that proper use of BWCs can

reduce uses of excessive force, Plaintiff did not show that the APD’s failings

regarding BWC usage increased uses of excessive force. Thus, even if Plaintiff

showed a persistent failure to comply with or enforce the APD’s BWC policies, that

failure was not shown to have resulted in a widespread use of excessive force.” The

Court then referenced one of the two jury instructions provided before jury

deliberations, which discussed the need to show at least one prior, similar use of

unconstitutional force. The Court stated that “[a]t the very least, the jury’s verdict

was not supported by evidence concerning” a prior constitutional violation.

      The jury was provided with two different instructions regarding municipal

liability. The order granting Defendant’s motion focused on the second of those two


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instructions, which relates to a failure to train theory of liability. But, the Court’s

order does not reflect that it likewise considered the first instruction, which provided:

             City of Atlanta is not liable for violating Jerry Blasingame’s
      constitutional rights simply because it employed Defendant Officer
      Grubbs. Rather, City of Atlanta is liable if Plaintiff proves that an
      official policy or custom of City of Atlanta directly caused his injuries.
      Put another way, City of Atlanta is liable if its official policy or custom
      was the moving force behind Jerry Blasingame’s injuries.

             An “official policy or custom” means:

              1.    A rule or regulation created, adopted or ratified by the City
                    of Atlanta; or

              2.    A policy statement or decision made by the City of
                    Atlanta’s policymaker; or

              3.    A practice or course of conduct that is so widespread that
                    it has acquired the force of law- even if the practice has
                    not been formally approved.

As the Court acknowledged, Plaintiff presented evidence of an official policy or

custom and evidence that said official policy or custom was the driving force behind

the unconstitutional use of force in this case. Nothing more was required, including

any showing regarding a history of constitutional violations.

      The Eleventh Circuit has stated that “[w]e have noted that a single

constitutional violation may result in municipal liability when there is ‘sufficient

independent proof that the moving force of the violation was a municipal policy or

custom.’” Vineyard v. Co of Murray, 990 F.2d 1207, 1212 (11th Cir., 1993). That

recognition was a necessity, as the United States Supreme Court has stated that “‘in
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a narrow range of circumstances,’ a pattern of similar violations might not be

necessary to show deliberate indifference.” Connick v Thompson, 563 U.S. 51, 63

(2011).

      In granting Defendants’ renewed motion, the Court expressed concern that

Plaintiff only produced one opinion in which a court accepted the theory that a

failure to enforce BWC policies could be a moving force behind an unconstitutional

use of force. There is no obligation to show other actions that have prevailed on a

similar theory. Plaintiff was obligated to show that a custom or policy by this

municipal defendant was the moving force behind this constitutional violation. If

Plaintiff merely offered unsupported arguments to the jury that asked them to

conclude that there was a causal link in this case, the novelty of the theory would be

a relevant consideration for the Court. Instead, this Plaintiff offered unrebutted

expert testimony explaining exactly how the City’s admitted failings inevitably led

to this specific constitutional violation.

      While neither Monell nor its progeny require a similar theory of municipal

liability to have been previously advanced elsewhere, the increased availability of

BWCs is resulting in courts acknowledging the sound logic of the theory in this case.

In Epps v City of Denver, 2022 U.S. Dist. LEXIS 35895 (March 1, 2022), the Court

denied a motion for summary judgment on a municipal liability claim where

Plaintiff’s experts opined in their reports that a preexisting policy of not enforcing


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body camera usage was a driving force of a subsequent use of excessive force. The

Court explained that “Defendants misunderstand the application of plaintiffs’

evidence. Plaintiffs argue that Denver’s failure to require use of force reports and

body worn camera activation, a preexisting policy understood by officers before the

protests, notified officers that they likely would not be held accountable for

excessive uses of force and thus caused them to use excessive force. Plaintiffs have

presented sufficient evidence to support this causal claim.”

       Similarly, the District Court in Jones v Louisville/Jefferson County Metro

Gov’t, 482 F.Supp.3d 584 (2020) also recognized the sound logic behind the theory

advanced here. In denying a pre-discovery motion to dismiss, the Court explained

that

       Here, it is plausible to infer that un-filmed officers may act differently
       than those who are under surveillance. True, there will be times when
       officers with cameras use excessive force, just as there will be times
       when officers without body cameras do not use excessive force. But it’s
       plausible to infer that a city-wide decrease in body camera usage will
       result in a city-wide increase, to some degree, in incidents of excessive
       force. This claim is bolstered by the pleaded fact, which this Court must
       accept as true, that officers confiscated and destroyed Plaintiffs’
       surveillance footage of the raid in question.

The Court then stated that “the plaintiffs may lose on this Monell claim — on

custom, on causation, or on both. But at the motion to dismiss stage, Plaintiffs have

plausibly pleaded that Louisville Metro has a custom of not having officers wear or

activate body cameras and that this custom caused their injuries. This claim may


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proceed.” Since that time, numerous district courts in the nation have likewise

recognized the viability of such a theory, including in the Northern District of

Georgia. See Farr v CTG Hospitality Group, LLC, ___F Supp 3d___; 2024 U.S.

Dist. LEXIS 43854 (ND Ga, Mar. 13, 2024); Rose v Baltimore Co, ___F Supp

3d___; 2024 U.S. Dist. LEXIS 151257 (D Md, Aug. 23, 2024); Cruz v City & Co of

Denver, ___F Supp 3d___; 2023 U.S. Dist. LEXIS 224953 (D Colo, Dec. 18, 2023)

      While the Court may have considered Plaintiff’s municipal liability theory to

be novel, other district courts have acknowledged that if the evidence shows that a

lack of enforcement of BWC policies was the moving force behind a use of excessive

force, liability is proper. Jones is of even greater relevance because it notes that the

theory was buttressed by the allegation that officers, in addition to not using their

cameras, destroyed what footage did exist. The same is true here. When considering

the other inaccuracies and inconsistencies within Grubbs’s account, there was every

reason to believe that this is an officer who is enabled by the City’s dereliction in

enforcing the policies it enacted to protect the public, which is exactly what

Plaintiff’s experts opined.

      While the Plaintiffs in Epps and Jones were not at the trial stage when the

opinions were issued, those Courts recognized that if the proofs substantiated the

allegations, municipal liability would be proper. Whether any other Plaintiff has

successfully made that showing at trial is irrelevant. This Plaintiff, in this trial, did.


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Defendant did nothing to rebut the overwhelming evidence presented to the jury.

The only aspect of Plaintiff’s claim that appears to be disputed is whether there was

a causal connection between the custom and the underlying violation. Defendants’

own 30(b)(6) witness, Reyes, testified that there was a custom of not enforcing

bodycam policies. The City is bound by that admission. And the audit report leaves

no question that the City was aware of the failure to abide by the BWC policies and

did nothing to remedy those failures.

      All that was left in light of the overwhelming evidence of custom or policy

was causation. Plaintiff undoubtedly produced expert testimony regarding that

element. Dr. Scott, who is a Doctor of Criminal Justice with more than 30 years of

law enforcement experience that includes being a chief of police and a head of

internal affairs, testified that the audit demonstrates a pattern, practice and custom

of not training and supervising officers’ use of their body cameras and that the City’s

failure in those regards resulted from deliberate indifference. He explained that in

such an environment, officers knew that there were no consequences in failing to

comply with the policy. He testified that the City’s failure to train and supervise

relative to body cameras directly led to the use of force here.

      Similarly, Chief Tiderington, is a highly experienced and qualified expert with

more than 40 years of law enforcement experience who testified that the audit

evidence demonstrates that the City has a de facto policy of not supervising and


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training its officers on proper body cam use. He explained that where such a policy

exists, the consequence is an increased likelihood that officers will use excessive and

unconstitutional force. He stated that where a municipality freely permits officers

to not abide by body camera policy, that municipality is training the officers to use

whatever level of force they desire. He also testified that in Departments where body

cameras are instituted and utilized, uses of force decrease.

   The District Court’s conclusion that Plaintiff did not adequately make a

connection between the custom/policy and the use of excessive force amounts to an

improper determination that Plaintiff’s unrebutted witnesses were not credible.

“When the resolution of the case boils down to credibility, the trial judge must allow

the jury to function.” Hewitt v. B.F. Goodrich Co., 732 F.2d 1554, 1558 (11th Cir.

1984).   Dr. Scott and Chief Tiderington each have exceptional amounts of

experience with supervising officers. If they unambiguously stated that there was a

causal connection between this specific custom and this specific use of force, this

jury was permitted to deem their testimony credible and reach the verdict it did.

   II.    The District Court improperly granted Defendant’s request for
          remittitur relative to the punitive damage award

   Just as the District Court improperly eliminated $60 million in compensatory

damages that the jury properly attributed to the City of Atlanta on the municipal

liability theory, so too did it improperly grant remittitur to Defendant Grubbs on the

award of punitive damages.
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   A. Defendant’s motion was untimely

   To begin, the District Court procedurally erred in considering Defendant’s

motion, which it had previously denied as being untimely prior to remand. On

December 23, 2022, three months after the judgment was entered, Grubbs filed a

motion for relief from judgment, which he stated was pursuant to Fed. R. Civ. P. 60.

In that motion, Grubbs sought remittitur and asserted that the jury’s verdict was both

excessive and unconstitutional. (ECF No. 207.)

   Plaintiff responded to Defendant’s motion and explained that a motion seeking

remittitur is properly brought pursuant to Fed. R. Civ. P. 50 or 59, depending on the

precise nature of the argument. Each of those rules requires the motion to be filed

within 28 days of the judgment. Plaintiff argued that Defendant improperly labeled

his motion as a Rule 60 motion in order to try to avoid the clear time limits that

Defendant had missed. Plaintiff similarly argued that because Defendant had

already filed his notice of appeal, the District Court was divested of jurisdiction and

was not permitted to substantively alter the judgment, as Defendant requested. The

District Court denied Defendant’s motion on the basis of the two procedural

arguments described above. The Court correctly found that Defendant’s motion was

properly seen as a motion pursuant to Fed. R. Civ. P. 59(e), that such a motion had

to be filed within 28 days of the entry of judgment and that Defendant failed to meet

that deadline. (ECF No. 219.)


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   Defendant’s motion prior to remand contended that the award of punitive

damages was excessive and unconstitutional and is thus subject to remittitur. In

other words, Defendant was asking the District Court to amend the judgment it

entered on September 22, 2022, in order to reduce the amount of the punitive

damages the jury awarded Plaintiff. Fed. R. Civ. P. 59(e) provides that “[a] motion

to alter or amend a judgment must be filed no later than 28 days after the entry of

the judgment.” Thus, Defendant had until October 20, 2022, to timely file his

motion. The motion was not filed until December 23, 2022, which was more than

two months after the applicable deadline.

   Similarly, the 11th Circuit has held that Fed. R. Civ. P. 50 applies when there is

an argument that a judgment must be reduced to comply with constitutional limits.

Johansen v. Combustion Eng’g, Inc, 170 F.3d 1320, 1331 (11th Cir., 1999). Fed. R.

Civ. P. 50(b) likewise provides that any post-trial motion under that rule must be

filed within 28 days of the judgment.

   All of the arguments contained in Defendant’s motion were controlled by either

Rule 50 or Rule 59 and each of those rules imposes a 28-day deadline on the moving

party. Defendant’s motion was due no later than October 20, 2022, and was

unquestionably untimely by more than two months.

   The question of remittitur should have ended with the Court’s ruling that

Defendant’s motion was untimely. However, after this Court remanded back to the


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District Court to properly secure the dismissal of the state law count, that Court

improperly permitted Grubbs to refile the motion that had previously been denied.

In the Court’s view, because it had to enter a new judgment, the window for filing

post-trial motions was reopened. First, no new judgment was necessary. All this

Court r

   In Johnston v Borders, 2019 U.S. Dist. LEXIS 228218, a district court case from

the Middle District of Florida, the court cited approvingly to McNabola v Chicago

Transit Auth., 10 F.3d 501 (7th Cir. 1993):

      In McNabola v. Chicago Transit Authority, the Seventh Circuit
      addressed a nearly identical situation. The plaintiff argued that the
      defendant’s post-judgment Rule 59 motion, and alternatively, the
      amended judgment, suspended the finality of the original judgment,
      “meaning the court had jurisdiction to consider his [Rule 59 motion]”
      outside the deadline. McNabola, 10 F.3d 501, 521 (7th Cir. 1993).
      There, the district court entered an amended judgment (granting the
      defendant’s Rule 59 motion) that lowered the plaintiff’s damage award
      after he accepted the court-ordered remittitur. Id. at 521. The plaintiff
      then filed his own Rule 59 motion seeking to add prejudgment interest.
      Id.

      The Seven Circuit found the plaintiff’s Rule 59 motion untimely,
      reasoning that “although a timely post-judgment motion opens up the
      earlier judgment . . . the non-moving party may not then make its own
      untimely request for alteration of the judgment on a wholly independent
      ground.” Id. at 520 (citation omitted). For an amended judgment to
      constitute a new judgment with a new period for filing Rule 59 motions,
      the second Rule 59 must bear some relationship to the district court’s
      alteration of the original judgment. Id.; see also Tru-Art Sign Co. v.
      Local 137 Sheet Metal, 852 F.3d 217, 221 (2d Cir. 2017) (“When both
      an initial judgment and an amended judgment exist, the timeliness of a
      Rule 59(e) motion is determined from the date of the amended
      judgment only if the motion bears some relationship to the district
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      court’s alteration of the first judgment.”). The Seventh Circuit went
      on to comment that “[t]he time limit would be a joke if parties could
      continually file new motions, preventing the judgment from
      becoming final.” Id. at 522.

The rationale above- that a new motion following an amended judgment should only

be permitted if it bears some relationship to the alteration of the first judgment-

should be applied here. This Court’s remand should not have served as a parachute

for a Defendant that had failed to file a timely motion for remand following trial.

That is particularly true where the need for remand was created by an order that

Defendant stipulated to. None of the parties (nor the district court) anticipated that

the manner they used to dispose of the state law count would create procedural issues

on appeal or interfere with appellate jurisdiction.        The motion for remittitur

following remand should have never been considered. The error resulted in a $19

million reduction of the judgment that should have remained in effect.

   B. The punitive damage award was not unconstitutional

   In addition to improperly considering an untimely request for remittitur, the

district court also erred in determining that the award was unconstitutional. At the

outset, it must be noted that Defendant’s motion was devoid of any reference to the

jury instructions provided in this case. “The ‘rule’ -- indeed, the premise upon which

the system of jury trials functions under the American judicial system -- is that juries

can be trusted to follow the trial court’s instructions.” Parker v Randolph, 442 U.S.

62, 75 n 7 (1979). This jury was thoroughly instructed regarding the law of damages
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and there was no argument that those instructions were incorrect, nor was there an

effort to show that the jury disregarded those instructions. Instead, Defendant’s

argument was, at its heart, a mere disagreement with the jury’s conclusion.

   The district court erred in holding that the punitive damage award was

unconstitutional. In assessing punitive damage awards in the face of a constitutional

challenge, courts are to analyze three “guideposts”: (1) the degree of reprehensibility

of the defendant’s misconduct; (2) the disparity between the actual or potential harm

suffered by the plaintiff and the punitive damages award; and (3) the difference

between the punitive damages awarded by the jury and the civil penalties authorized

or imposed in comparable cases. State Farm Mut. Auto. Ins. Co. v Campbell, 538

U.S. 408, 418 (2003). Plaintiff will address those guideposts below.

   1. Defendant’s conduct was reprehensible

   When assessing the reasonableness of a punitive damages award, the

reprehensibility guidepost is the “most important.” State Farm at 419. Indeed, the

reprehensibility of a defendant’s conduct is “the most important indicium” of a

punitive damages award’s reasonableness. BMW of N. Am. v. Gore, 517 U.S. 559,

575 (1996); see also Goldsmith v. Bagby Elevator Co., Inc., 513 F.3d 1261, 1283

(11th Cir. 2008).

      In making the reprehensibility determination per State Farm, courts are

instructed to consider the following five factors: 1) the harm caused was physical as


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opposed to economic; 2) the tortious conduct evinced an indifference to or a reckless

disregard of the health or safety of others; 3) the target of the conduct was financially

vulnerable; 4) the conduct involved repeated actions or was an isolated incident; and

5) the harm was the result of intentional malice, trickery, or deceit, or mere accident.

Goldsmith v. Bagby Elevator Co., Inc., 513 F.3d 1261, 1283 (11th Cir.2008) (citing

U.S. E.E.O.C. v. W&O, Inc., 213 F.3d 600, 614-615 (11th Cir. 2000)).

”Reprehensibility grows more likely as more factors are present.” Sepulveda v.

Burnside, 432 F. App’x 860, 865 (11th Cir.2011) (citing State Farm, supra at 419).

      For consideration of the first reprehensibility factor, whether “the harm caused

was physical as opposed to economic,” State Farm, Supra at 419, the Eleventh

Circuit held in Goldsmith, 513 F.3d at 1283, that psychological harm suffices to

support a finding of physical harm. Here, there is no contest as to the severity of

Plaintiff’s physical injuries and the mental anguish he has suffered as a result. Trial

was replete with testimony as to the daily suffering Plaintiff experienced from the

time of this tasing and how he will never improve.

      The second factor, whether the “tortious conduct evinced an indifference to

or reckless disregard of the health or safety of others,” State Farm, Supra at 419,

weighs in Plaintiff’s favor. When evaluating this second factor, courts consider “the

possible harm to other victims that might have resulted if similar future behavior

were not deterred.” TXO Prod. Corp. v. Alliance Res. Corp., 509 U.S. 443, 460


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(1993). Testimony demonstrated that Defendant Grubbs, by disregarding training on

the environmental factors that impact the reasonableness of taser usage, was

indifferent toward Mr. Blasingame’s safety and health. Further, there is no record

evidence of any corrective action; in fact, Defendant continues to dispute that he

acted unreasonably despite the overwhelming evidence to the contrary.

      Similarly, the third factor in assessing reprehensibility, “whether the target of

the conduct had a financial vulnerability,” State Farm, Supra at 419, weighs in

Plaintiff’s favor. Mr. Blasingame was a homeless man relegated to relying on the

charity of others to survive.

      The fourth reprehensibility factor, whether “the conduct involved repeated

actions or was an isolated incident,” State Farm, Supra at 419, also potentially

weighs in Plaintiff’s favor. Evidence adduced at trial demonstrated that Defendant

had been trained on how to use his body camera and that the City of Atlanta had

determined that its officers were failing to record interactions with the public, as

required by policy. Defendant Grubbs perpetuated that department wide conduct.

      The final factor, whether “the harm was the result of intentional malice,

trickery, or deceit, or mere accident,” State Farm, Supra at 419, also favors Plaintiff.

Defendant Grubbs’ actions were not a “mere accident,” State Farm, supra at 419

(citing Gore, supra at 576—77) as he consciously elected to use the force that he

did. Moreover, he then engaged in deceit and trickery by toggling his body worn


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camera off and destroying the footage of his conduct. The district court, however,

completely ignored those facts, stating that there was no indication in this record that

Defendant was acting in bad faith. Again, the jury clearly found differently and the

testimony described throughout this brief supported that conclusion. The trial court

very evidently substituted its own judgment and credibility determinations for that

of the jury that Mr. Blasingame had a constitutional right to have a trial before.

   Again, reprehensibility is the most important factor in assessing the

reasonableness of this award, and an award is more likely to be affirmed as the

reprehensibility factors weighing in Plaintiff’s favor increase. Here, each and every

factor weighs in Plaintiff’s favor. The district court held otherwise, concluding that

it did not believe that Grubbs could be considered to have acted in a reprehensible

manner. This was a defendant who, despite alleged training on the subject, chased

an elderly homeless man who he suspected of no crime and then proceeded to use

lethal force on that man without warning. Those are the facts of the case. The district

court’s ruling entirely deviates from this record and bears no resemblance to what

the evidence proved at trial (as is demonstrated by the jury’s verdict).

   2. The disparity between the actual or potential harm suffered by the
      plaintiff and the punitive damages award

   The second prong of the constitutionality test asks the Court to consider the

comparison between the amount of the punitive damages and the actual harm

suffered. Notably, Defendant made no argument below that this prong favored
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remittitur. Instead, he ignored the guidepost completely. The district court then

curiously stated in its opinion below that the parties did not thoroughly brief this

subject. That is simply not accurate. Plaintiff had no reason to address a guidepost

that Defendant was not arguing favored him, in a motion in which Defendant had

the burden. It was improper for the Court to sua sponte make an argument for

Defendant on this matter.

   Not only should the Court have not addressed this prong, but the manner in which

it did is again contrary to the record. The Court acknowledged that this guidepost is

typically seen as a ratio in which the punitive damages may not exceed the

compensatory damages by a certain amount. When previously describing this

guidepost, the Supreme Court has explained that

      We decline again to impose a bright-line ratio which a punitive
      damages award cannot exceed. Our jurisprudence and the principles it
      has now established demonstrate, however, that, in practice, few
      awards exceeding a single-digit ratio between punitive and
      compensatory damages, to a significant degree, will satisfy due process.
      In Haslip, in upholding a punitive damages award, we concluded that
      an award of more than four times the amount of compensatory damages
      might be close to the line of constitutional impropriety. 499 U.S., at 23-
      24. We cited that 4-to-1 ratio again in Gore. 517 U.S., at 581. The Court
      further referenced a long legislative history, dating back over 700 years
      and going forward to today, providing for sanctions of double, treble,
      or quadruple damages to deter and punish. Id., at 581, and n. 33. While
      these ratios are not binding, they are instructive. They demonstrate what
      should be obvious: Single-digit multipliers are more likely to comport
      with due process, while still achieving the State’s goals of deterrence
      and retribution, than awards with ratios in range of 500 to 1, id., at 582,
      or, in this case, of 145 to 1. [State Farm Mut Automobile Ins. Co. v.
      Campbell, 538 U.S. 408, 425 (2003).]
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Thus, while we know that double digit ratios between punitive damages and

compensatory damages are perhaps difficult to sustain, single digit ratios generally

are not.

      Here, the court first erred in concluding that the ratio in this jury’s award was

1:1. It was not. Recall, the jury’s verdict in total was $80 million compensatory and

$20 million punitive. It was a 4:1 ratio in favor of compensatory damages. That the

trial court then eliminated $60 million in compensatory damages because of its

erroneous liability analysis on municipal liability does not negate the fact that Mr.

Blasingame incurred that degree of harm.

      After falsely concluding that the ratio was 1:1, the Court then explained that

while that award may appear to be constitutional on the surface (which is precisely

why Defendant made no argument regarding this guidepost, the award was

nonetheless unconstitutional. The Court stated that “[h]ere, the compensatory award

is enormously high” and then concluded that because of that allegedly high

compensatory award, a ratio of even 1:1 could not be sustained. That was error.

Moreover, it was punishment of Mr. Blasingame for being so catastrophically

harmed. The compensatory damage award that survived the Court’s grant of JMOL

in favor of the city was grossly inadequate in the eyes of the jury (and even defense

counsel) to compensate Mr. Blasingame for his injuries. Again. defense counsel

stated during closing argument that an award of $100 million could be proper if
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liability was to be had. That was correct. The compensatory damage award of $20

million was not “enormously high.” It was inadequate.

      By reducing the punitive damage award to $1 million, Plaintiff is left with a

ratio of 80:1 of compensatory to punitive damages. Zero authority supports such a

ruling. This guidepost went unargued by Defendant for a reason: to argue it

supported overturning the punitive damage award is to entirely ignore the record and

the law.

   3. The difference between the award and the civil penalties available

   The remaining guidepost asks the deciding Court to consider the size of the

punitive damage award compared to the civil or criminal penalties available under

the law. As the 1st Circuit has stated when discussing this guidepost, “[i]n drafting

section 1983, Congress did not make any reference to the quantum of damages. We

may, therefore, consider awards in similar cases to help determine if particular

punitive damages in a given case appear excessive.” Casillas-Diaz v Officer

Romualdo Palau, 463 F3d 77, 86 (1st Cir., 2006).

   In arguing below that other decisions demonstrate the excessive nature of the

punitive damage award in this case, Defendant cited to the outcome in Jennings v

Fuller, ___F Supp 3d___; 2017 U.S. Dist. LEXIS 77945 (ED Mich, May 23, 2017),

in which the jury awarded the Plaintiff $17.63 million in compensatory damages and

$19 million in punitive damages. Those awards were reduced by the District Court-


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after a timely filed motion- to $5 million and $6 million, respectively. Yet, the

Defendants in Jennings did not render the Plaintiff a quadriparetic. Instead, that

opinion reflects that the Plaintiff never had a surgery as a result of his injuries,

underwent minimal physical therapy and returned to living his life. This jury was

attempting to deter a far different consequence than the Jennings jury.

   That there are not a multitude of comparable cases where police officers have

rendered homeless men quadriparetics and then destroyed the evidence of their

conduct afterwards should not be a basis for reducing this punitive damage award.

There are other instances where public officials have been subject to large punitive

damage awards that were not reduced.           For example, in Reeves v. Town of

Cottageville, #2:12-cv-02765, U.S. Dist Ct., (D.S.C. Oct. 21, 2014), a jury awarded

a Plaintiff in an excessive force case $7.5 million in compensatory damages and $90

million in punitive damages ($60 million against the city and $30 million against the

officer) (Doc. 164). The case was settled for a confidential sum without those awards

ever being reduced (Doc. 205).

   As Defendant’s brief below acknowledged (albeit in a footnote), in S.T. v. Isbell,

No. 2:09cv616-MHT (M.D. Ala. 2010), the jury awarded the minor Plaintiff $10

million in compensatory damages and $10 million in punitive damages. While there

are no trial transcripts or extensive opinions to analogize the facts of that case, the

damage awards were not reduced in any way in that case. Counsel did view the


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complaint in that matter, which is nine pages in length and contains very little

description of the Defendant’s specific conduct or the nature of the Plaintiff’s

injuries. Again, it was Defendant’s burden in this motion to show that relief is

warranted and S.T. v. Isbell fails to accomplish that.

   In Estate of Moreland v Dieter, 395 F3d 747 (7th Cir., 2005), the 7th Circuit

affirmed $27.5 million in punitive damages in an excessive force case where there

were $29 million in compensatory damages. In doing so, the Court stated that “[t]he

defendants have not identified a single appellate case questioning the

constitutionality of a punitive damages award that is a fraction of the underlying

compensatory damages award. Nor have we.” Id. at 757. The same is true here.

      As provided above, there have been other 1983 cases with similar or higher

punitive damage awards which were never subject to reduction. Defendant failed to

show that this guidepost favored a reduction. As the 5th Circuit has previously stated

in an opinion binding upon this Court,

      In order for an award to be reduced, “the verdict must be so gross or
      inordinately large as to be contrary to right reason.” Machado v. States
      Marine-Isthmian Agency, Inc., 411 F.2d 584, 586 (5th Cir. 1969). The
      Court “will not disturb an award unless there is a clear showing that the
      verdict is excessive as a matter of law.” Anderson v. Eagle Motor Lines,
      Inc., 423 F.2d 81, 85 (5th Cir. 1970). The award, in order to be
      overturned must be “grossly excessive” or “shocking to the
      conscience.” La-Forest v. Autoridad de las Fuentes Fluviales, 536 F.2d
      443 (1st Cir.1976). [Del Casal v. Eastern Airlines, Inc., 634 F.2d 295
      (5th Cir. Unit B 1981).]

   The verdict at issue in this case was large because the injuries Defendant caused
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were catastrophic and the conduct at issue was reprehensible.           The Court’s

conclusion that there are not comparable awards that have survived judicial scrutiny

is both incorrect and reflects the Court’s continued failure to appreciate the jury’s

role in determining the scope and availability of damages.

   III.   The District Court erred in denying Plaintiff’s Motion for Relief from
          Judgment relative to his claim under O.C.G.A. § 42-5-2

      Just as the District Court erred in concluding that Defendant was entitled to

judgment as a matter of law relative to the claim of municipal liability, it likewise

erred in concluding that Defendant was not statutorily responsible for Plaintiff’s

medical bills. Georgia law provides that the responsible governmental entity shall

pay for the necessary medical expenses of inmates in their custody. See O.C.G.A. §

42-5-2.

      The Georgia Court of Appeals has explicitly held that “when officers subdue

a subject, render first aid, and transport him to the hospital, physical custody is

shown.” Macon-Bibb County Hosp. Auth. v. Reece, 228 Ga. App. 532, 534 (1997).

      In Cobb, the individual “was shot and incapacitated by one Cherokee County

deputy, placed in restraints by another, and taken in restraints to the hospital in a

county vehicle that was escorted by a sheriff’s department vehicle. This was

sufficient to place [the individual] in the physical custody of the deputies.” 221 Ga.

App. at 498.


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      Here, Defendant Grubbs testified that Mr. Blasingame was in custody

beginning the moment he was tasered and that had Mr. Blasingame not been injured,

he would have been arrested and taken to jail. (Tr, pp 1079-1080.) Indeed, while

Mr. Blasingame was still at the hospital two months after this incident, he was served

with two citations that each referenced that he was in detention at Grady Hospital,

which apparently contains a section for inmates or detainees (Tr, pp 558-559).

      The Georgia Court of Appeals has long held that the term “inmate” as used in

O.C.G.A. § 42-5-2 applies “not only [to] a person who has been convicted of an

offense, but also a person who is detained by reason of being charged with a crime.”

Macon-Bibb Cty. Hosp. Auth. v. Hous. Cty., 207 Ga. App. 530, 531-532 (1993).

      As explained by a court in this federal district, “Georgia courts have held that

pretrial detainees who are in custody by reason of having been charged with a crime

qualify as ‘inmates’ for purposes of § 42-5-2, even if the detainee is released on his

own recognizance while in the hospital. Those who would have been placed into

custody but for their injuries have also been held to qualify as ‘inmates,’ though they

were not yet detained in a detention facility.” Saylor v. Barrow County, 2010 U.S.

Dist. LEXIS 154614, at *13 (N.D. Ga. Mar. 9, 2010) (internal citation omitted).

      In Cherokee County v. N. Cobb Surgical Assocs., P.C., 221 Ga. App. 496, 497

(1996), the Georgia Court of Appeals determined that an individual who was shot

by police officers during his arrest and brought to the hospital for urgent treatment


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was an “inmate” under O.C.G.A. § 42-5-2. Following, Macon-Bibb Cty. Hosp. Auth.

v. Hous. Cty., 207 Ga. App. 530, 532 (1993), the Court determined that if not for his

gunshot injuries, he would have been brought to jail and thus was properly

considered an “inmate” under the intent of the statute. Id. at 498-499. (“In a like

manner, we hold that Cherokee County is responsible for McFarland’s medical care

because he was injured while being taken into physical custody by the county

sheriff’s department and who, but for the seriousness of his injuries, would have

been placed in the county’s detention facility.”). Like Cobb, Mr. Blasingame was

injured by an officer while he was detaining or arresting Mr. Blasingame. Grubbs

called for EMS and monitored Mr. Blasingame until Mr. Blasingame was transferred

to the hospital where he remained in custody. Accordingly, Mr. Blasingame was in

custody when he was injured and thus meets this statutory requirement. His estate

is entitled to payment of past and present medical expenses incurred for injuries

sustained while he was in the custody of City of Atlanta.

   IV.   The District Court erred in denying Plaintiff’s motion for costs and
         fees as the prevailing party.

      Finally, the District Court erred in denying Plaintiff’s motion for attorney fees.

Plaintiff acknowledges that the District Court essentially held Plaintiff’s motion in

abeyance. The Court recognized that Plaintiff was the prevailing party at trial, but

elected to wait until the conclusion of the appeal before it ruled on the motion.



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Plaintiff included the denial of that motion in his claim of appeal in order to ensure

it was properly preserved.

      48 U.S.C. § 1988(b) provides that in certain civil rights actions, including

those brought under 42 U.S.C. § 1983, the district court, “in its discretion, may allow

the prevailing party a reasonable attorney’s fees as part of the costs.” Hensley v.

Eckerhart, 461 U.S. 424, 426 (1983).

      This Court recognizes that “a plaintiff ‘prevails’ when actual relief on the

merits of his claim materially alters the legal relationship between the parties by

modifying the defendant’s behavior in a way that directly benefits the plaintiff.”

Farrar v. Hobby, 506 U.S. 103, 111-12 (1992). There is no doubt that the Plaintiff is

a prevailing party under this standard.

      Relatedly, it is well established that a plaintiff who has won substantial relief

should not have the attorney’s fees reduced simply because the district court did not

adopt each contention or claim raised, so long as the claims involve a common core

of facts or are based on related legal theories. Hensley, 461 U.S. at 435. Plaintiff

succeeded before the jury and this Court on his claim of excessive force against

Defendant Grubbs; and then the Court set aside the jury’s verdict against the City of

Atlanta. Plaintiff is still entitled to fees and costs on all the work completed.

Consequently, this matter must be remanded for the Court to determine the amount

of costs and fees to which Plaintiff is entitled, as was fully briefed below.


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                                  CONCLUSION

      For the reasons set forth above, Plaintiff respectfully requests that this

honorable Court reverse the district Court in all the ways discussed herein. Mr.

Blasingame demanded a jury trial, which he was entitled to under the United States

Constitution. What he instead received was a bench trial that amounted to a

miscarriage of justice. The district court found there to be no evidentiary errors, no

instructional errors and no improper influence resulting from passion or prejudice.

Yet, the court nonetheless determined that its view of the facts and the damages was

superior to that of the jury. Moreover, the court improperly provided a Defendant

who had unquestionably missed motion deadlines with a parachute to save him from

his own tardiness at Mr. Blasingame’s significant expense. What has occurred thus

far in this case is an affront to all notions of fairness in our civil justice system.

Relief is required.

                                              Respectfully submitted,

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Dated: January 10, 2025




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                     CERTIFICATE OF COMPLIANCE

      I hereby certify that the foregoing brief complies with the type-volume

limitation provided in F.R.A.P. 32(a)(7)(B). The foregoing brief contains 12,988

words of Times New Roman (14 point) proportionate type.

                                                  /s/ Christopher P. Desmond




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                          CERTIFICATE OF SERVICE

      The undersigned hereby certifies that on January 10, 2025, I electronically

filed the foregoing paper with the Clerk of the Court using ECF system which will

send notification of such filing to all counsel of record in this matter.

                                               /s/ Christopher P. Desmond




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